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1700 G Street NW, Washington, D.C. 20552


February 12, 2025

VIA ECF & EMAIL

The Honorable John P. Cronan
United States District Court
Southern District of New York
500 Pearl Street, Room 1320
New York, NY 10007

CronanNYSDChambers@nysd.uscourts.gov

Re:    Consumer Financial Protection Bureau v. MoneyLion Technologies Inc. et al.
       Case No. 1:22-cv-08308-JPC

Dear Judge Cronan:

On February 7, 2025, the Court denied without prejudice Defendants’ Letter Motion to Stay and
ordered Plaintiff Consumer Financial Protection Bureau to file a letter on or before February 14,
2025, stating whether it intends to continue prosecuting this action. (ECF 103.)

The CFPB hereby requests a two-week extension—until February 28, 2025—to file the letter so
that CFPB leadership can assess Enforcement priorities. Counsel for Defendants consents to the
CFPB’s extension request.

The CFPB proposes that the remainder of the deadlines set forth in the Court’s February 7, 2025
Order remain unchanged: that within three days after the CFPB’s filing of that letter, Defendants
shall file a letter that either renews its request for leave to file a motion for a stay or indicates that
it no longer intends to file such a motion; and that if MoneyLion renews its request for leave to
file a motion for a stay, the CFPB shall respond to that letter in accordance with Individual Civil
Rule 6.A.

Respectfully submitted,

/s/Maxwell Peltz
MAXWELL PELTZ (CA Bar No. 183662)
Admitted Pro Hac Vice
MARK LADOV (SDNY Bar No. ML1053)
RYAN COOPER (TX Bar No. 24097531)
Admitted Pro Hac Vice


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